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                        IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF UTAH

   GREAT BOWERY, d/b/a TRUNK
   ARCHIVE,                                        Case No. 2:21-cv-00567-DBB
          Plaintiff,                           MOTION FOR SUMMARY JUDGMENT
   v.


   BEST LITTLE SITES, d/b/a
   www.comicbookmovie.com; NATHAN
   BEST; MARK CASSIDY; JOSHUA
   WILDING; and DOES 1 through 10,
   inclusive,
          Defendants.




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                            MOTION FOR SUMMARY JUDGMENT
  I.     INTRODUCTION
         Plaintiff Great Bowery, Inc., d/b/a Trunk Archive (“Trunk Archive”) moves pursuant to
  Federal Rules of Civil Procedure 56 for summary judgment as to liability for copyright
  infringement against Defendant Best Little Sites d/b/a www.comicbookmovie.com (“CBM”) and
  Defendant Nathan Best (“Best”) as vicarious infringers, and against Defendant Mark Cassidy and
  Defendant Joshua Wilding as direct infringers for violation of the right to create derivative works
  and right to publicly display. Trunk Archive also moves for summary judgment as to its entitlement
  to statutory damages and attorneys’ fees, as to Defendant Best and CBM’s Counterclaim, and as
  to all affirmative defenses asserted by Defendants.
 II.     STATEMENT OF UNDISPUTED MATERIAL FACTS
         Plaintiff Trunk Archive is a full-service photography licensing agency representing some

  of the most prominent photographers and iconic images in the world. Exhibit 43 at ¶12. One of
  Trunk Archive’s most prominent clients is American portrait photographer Annie Leibovitz. Id. at
  ¶14.
         A.      Annie Leibovitz Created The Star Wars Photographs.
         Between 2014 and 2019, Leibovitz took a series of photographs of the cast and crew of
  Star Wars: The Last Jedi and Star Wars: The Rise of Skywalker, 18 of which make up the subject
  matter of this lawsuit (“Star Wars Photographs”). Exhibit 42 at ¶ 3. The Star Wars Photographs

  are broken down as follows:

         -    A photograph of actress Laura Dern as Vice Admiral Amilyn Holdo (“Holdo
              Photograph”). Exhibit 1; Exhibit 42 at ¶ 4.
         -    A photograph of actor Benicio Del Toro as DJ (“DJ Photograph”). Exhibit 2; Exhibit
              42 at ¶ 5.
         -    A photograph of actors Mark Hamil and Carrie Fisher as Luke Skywalker and Leia
              Organa (“Skywalker Photograph”). Exhibit 3; Exhibit 42 at ¶ 6.
         -    A photograph of actress Carrie Fisher and her daughter Billie Lourd as Leia Organa
              and Kaydel Ko Connix (“Connix Photograph”). Exhibit 4; Exhibit 42 at ¶ 7.


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         -    A photograph of actors Oscar Isaacs, and Billy Dee Williams as Poe Dameron and
              Lando Calrissian aboard the Millennium Falcon with Chewbacca and BB-8
              (“Millennium Falcon Photograph”). Exhibit 5; Exhibit 42 at ¶ 8.
         -    A photograph of actor Mark Hamil as Luke Skywalker with R2-D2 (“R2-D2
              Photograph”). Exhibit 6; Exhibit 42 at ¶ 9.
         -    A photograph of actors John Boyega and Naomi Ackle as Finn and Jannah (“Finn
              Photograph”). Exhibit 7; Exhibit 42 at ¶ 10.
         -    A photograph of actors Domhnall Gleeson and Richard E. Grant as General Hux and
              Allegiant General Pryde (“Hux Photograph”). Exhibit 8; Exhibit 42 at ¶ 11.
         -    Eight photographs of behind-the-scenes production of Star Wars: The Rise of
              Skywalker (“Production Photographs”). Exhibit 9; Exhibit 42 at ¶ 12.

         -    A photograph of actors Adam Driver and Daisy Ridley as Kylo Ren and Rey
              (“Lightsaber Photograph”). Exhibit 10; Exhibit 42 at ¶ 13.
         -    A photograph of actors Oscar Issacs and John Boyega as Poe Dameron and Finn
              (“Dameron Photograph”). Exhibit 11; Exhibit 42 at ¶ 14.

         Leibovitz registered the Star Wars Photographs with the United States Copyright Office.

  Leibovitz registered the Holdo Photograph, Skywalker Photograph, Connix Photograph, DJ
  Photograph, and Dameron Photograph as part of a group registration of photographs under
  registration certificate VA 2-111-252 with an effective registration date of July 10, 2017. Exhibit
  12; Exhibit 42 at ¶¶ 17-18. Leibovitz also registered the Millennium Falcon Photograph, R2-D2
  Photograph, Finn Photograph, Hux Photograph, Production Photographs, and Lightsaber
  Photograph as part of a group registration of photographs under registration certificate VA 2-192-
  380 with an effective registration date of January 16, 2020. Exhibit 13; Exhibit 42 at ¶¶ 19-20.
         B.      Trunk Archive Is The Exclusive Licensor Of The Star Wars Photographs.
         On or about November 12, 2014, Leibovitz entered into an agreement (“Artist Agreement”)
  with Trunk Archive for exclusive worldwide representation to license her photographs. Exhibit
  14; Exhibit 42 at ¶¶ 21-22. Under the terms of the Artist Agreement, Leibovitz granted Trunk
  Archive “the exclusive worldwide right to license, market, and promote” her photographs “for all
  uses in any and all media.” Exhibit 14, ¶ 1.




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           On or about May 24, 2017, the publication Vanity Fair published an article titled “See
  Annie Leibovitz’s Exclusive Cast Portraits of Star Wars: The Last Jedi for Vanity Fair” (“2017
  Vanity Fair Article”). Exhibit 15. The Holdo, DJ, Skywalker, Connix, and Dameron Photographs
  were first published in the 2017 Vanity Fair Article as an exclusive. Exhibit 15; Exhibit 42 at ¶¶
  24-25.
           After publication, Leibovitz provided the Holdo, DJ, Skywalker, Connix, and Dameron
  Photographs to Trunk Archive under the terms of the Artist Agreement so that Trunk Archive
  could be the exclusive licensor of these Photographs for any other publications that wished to
  license them. Exhibit 14; Exhibit 42 at ¶ 27.
           On or about May 22, 2019, the publication Vanity Fair published an article titled “Star
  Wars: The Rise of Skywalker Photos: Meet the Characters and Go on Set” (“2019 Vanity Fair
  Article”). Exhibit 16. The Millennium Falcon, R2-D2, Finn, Hux, Production, and Lightsaber

  Photographs were first published in the 2019 Vanity Fair Article as an exclusive. Exhibit 16;
  Exhibit 42 at ¶ 30.
           After publication, Leibovitz provided the Millennium Falcon, R2-D2, Finn, Hux,
  Production, and Lightsaber Photographs to Trunk Archive under the terms of the Artist Agreement
  so that Trunk Archive could be the exclusive licensor of these Photographs for any other
  publications that wished to license them. Exhibit 14; Exhibit 42 at ¶ 31.
           C.     Defendants Engaged In Mass Infringement Of The Star Wars Photographs.
           Defendant CBM owns and operates the website www.comicbookmovie.com (the
  “Website”). Exhibit 43 at ¶25; Exhibit 44, ¶25. CBM’s Website consists primarily of movie and
  television articles and related editorial content geared towards the comic book, graphic novel, sci-
  fi, fantasy, and horror genres. Exhibit 43 at ¶27; Exhibit 44 at ¶27. Content on CBM’s Website is
  monetized through paid advertisements. Exhibit 43 at ¶28; Exhibit 44 at ¶28.
           Defendant Best is the owner and President of Defendant CBM. Exhibit 43 at ¶26; Exhibit
  44 at ¶26. Defendant Best has the ability to view all content posted on the Website, including


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  content queued for future posts, and can edit or delete the content of any post uploaded to the
  Website. Exhibit 38, Interrogatory No. 2.
         Defendant Best is compensated from the revenues generated by the Website. Exhibit 38,
  RFA No. 2.
         Defendant Mark Cassidy is a paid contributor to the CBM Website. Exhibit 43 at ¶37;
  Exhibit 46 at ¶37; see also Exhibit 19. Defendant Cassidy is expressly authorized by CBM to
  create editorial content for the Website. Exhibit 43 at ¶44; Exhibit 46 at ¶44. Defendant Cassidy
  posts to the CBM Website under the username “RorMachine.” Exhibit 43 at ¶39; Exhibit 46 at
  ¶39; Exhibit 17. Defendant Cassidy has been a contributor to the CBM Website since November
  9, 2008, and has contributed over 19,0001 articles to the Website, averaging approximately 3.5
  articles per day. Exhibit 43 at ¶38; Exhibit 46 at ¶38; Exhibit 17.
         Defendant Joshua Wilding is a paid contributor to the CBM Website. Exhibit 43 at ¶37;

  Exhibit 45 at ¶37; see also Exhibit 20. Defendant Wilding is expressly authorized by CBM to
  create editorial content for the Website. Exhibit 43 at ¶55; Exhibit 45 at ¶55. Defendant Wilding
  posts to the CBM Website under the username “JoshWilding.” Exhibit 43 at ¶48; Exhibit 45 at
  ¶48; Exhibit 18. Defendant Wilding has been a contributor to the CBM Website since March 13,
  2009, and has contributed over 34,0002 articles to the Website, averaging approximately 6 articles
  per day. Exhibit 43 at ¶39; Exhibit 45 at ¶39; Exhibit 18.
         In February 2019, Trunk Archive began to discover a number of articles on the CBM

  Website that utilized unlicensed copies of the Star Wars Photographs (“Infringing Articles”).
  Exhibit 43 at ¶57. Nine of the Infringing Articles were authored by Defendant Cassidy, and six of

  1
    At the time the Complaint was filed, Defendant Cassidy had contributed approximately 16,000
  articles to the CBM Website. In the intervening time period, Cassidy has authored over 3,000
  additional articles bringing his total to over 19,000 articles submitted.
  2
    At the time the Complaint was filed, Defendant Wilding had contributed approximately 27,000
  articles to the CBM Website. In the intervening time period, Cassidy has authored over 7,000
  additional articles bringing his total to over 34,000 articles submitted.


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  the Infringing Articles were authored by Defendant Wilding. See Exhibits21-35. CBM monetized
  all of the Infringing Articles through advertising revenues based on the number of views generated
  by each Infringing Article. Exhibit 43 at ¶75; Exhibit 44 at ¶75; Exhibit 36. The 15 Infringing
  Articles are broken down as follows:
          - An article titled “STAR WARS: THE LAST JEDI Actress Laura Dern Shares New
              Image Of Vice Admiral Amilyn Holdo” dated October 18, 2017, which utilized the
              Holdo Photograph. Exhibit 21; Exhibit 40, RFA Nos. 2-3. Cassidy was paid by CBM
              to author the article. Exhibit 40, RFA Nos. 2, 7. The article generated advertising
              revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE LAST JEDI International TV Spot Features
             Benicio Del Toro As The Mysterious DJ” dated November 20, 2017, which utilized
             the DJ Photograph. Exhibit 22; Exhibit 40, RFA Nos. 8-9. Cassidy was paid by CBM
             to author the article. Exhibit 40, RFA Nos. 8, 13. The article generated advertising
             revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE LAST JED’s Mark Hamill Shares A Lovely
             Tribute To Carrie Fisher One Year After Her Passing” dated December 27, 2017, which
             utilized the Skywalker Photograph. Exhibit 23; Exhibit 40, RFA Nos. 14-15. Cassidy
             was paid by CBM to author the article. Exhibit 40, RFA Nos. 14, 19. The article
             generated advertising revenue for CBM. Exhibit 36.
         -   An article titled “Billie Lourd Shares A Touching Tribute To Carrie Fisher On The
             Second Anniversary Of Her Passing” dated December 27, 2018, which utilized the
             Connix Photograph. Exhibit 24; Exhibit 40, RFA Nos. 20-21. Cassidy was paid by
             CBM to author the article. Exhibit 40, RFA Nos. 20, 25. The article generated
             advertising revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE RISE OF SKYWALKER – 12 Biggest Reveals
             And Spoilers From Vanity Fair’s Cover Story” dated May 22, 2019, which utilized the
             Millennium Falcon Photograph. Exhibit 25; Exhibit 41, RFA Nos. 2-3. Wilding was
             paid by CBM to author the article. Exhibit 41, RFA Nos. 2, 8. The article generated
             advertising revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE RISE OF SKYWALKER Behind The Scenes
             Video Features New Aliens And Cast Interviews” dated May 22, 2019, which utilized
             the R2-D2 Photograph, Finn Photograph, Hux Photograph, and Production
             Photographs. Exhibit 26; Exhibit 41, RFA Nos. 9-10, 12, 14, and 16. Wilding was paid
             by CBM to author the article. Exhibit 41, RFA Nos. 9, 27. The article generated
             advertising revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE RISE OF SKYWALKER Has A Very Interesting
             Alternate Title In Japan” dated June 25, 2019, which utilized the Lightsaber
             Photograph. Exhibit 27; Exhibit 41, RFA Nos. 28-29. Wilding was paid by CBM to
             author the article. Exhibit 41, RFA Nos. 28, 34. The article generated advertising
             revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE RISE OF SKYWALKER Star Daisy Ridley
             Promises A ‘Brilliant End’ To The Story” dated June 26, 2019, which utilized the
                                                  5
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             Lightsaber Photograph. Exhibit 28; Exhibit 40, RFA Nos. 26-27. Cassidy was paid by
             CBM to author the article. Exhibit 40, RFA Nos. 26, 31. The article generated
             advertising revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE RISE OF SKYWALKER’s Runtime Possible
             [sic] Revealed Along With Some Potential SPOILERS” dated August 12, 2019, which
             utilized the R2-D2 Photograph. Exhibit 29; Exhibit 41, RFA Nos. 35-36. Wilding was
             paid by CBM to author the article. Exhibit 41, RFA Nos. 35, 41. The article generated
             advertising revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE RISE OF SKYWALKER – Rey And Kylo Ren
             Clash On New Empire Magazine Covers” dated September 27, 2019, which utilized
             the Lightsaber Photograph. Exhibit 30; Exhibit 40, RFA Nos. 32-33. Cassidy was paid
             by CBM to author the article. Exhibit 40, RFA Nos. 33, 37. The article generated
             advertising revenue for CBM. Exhibit 36.

         -   An article titled “STAR WARS: THE RISE OF SKYWALKER Final Trailer
             Reportedly Scheduled For October 21” dated October 10, 2019, which utilized the
             Lightsaber Photograph. Exhibit 31; Exhibit 40, RFA Nos. 38-39. Cassidy was paid by
             CBM to author the article. Exhibit 40, RFA Nos. 38, 43. The article generated
             advertising revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE RISE OF SKYWALKER’s Oscar Issacs Blames
             ‘Disney Overlords’ For No Poe/Finn Romance” dated December 26, 2019, which
             utilized the Dameron Photograph. Exhibit 32; Exhibit 41, RFA Nos. 42-43. Wilding
             was paid by CBM to author the article. Exhibit 41, RFA Nos. 42, 48. The article
             generated advertising revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE RISE OF SKYWALKER Remains #1 At The
             Box Office As It Passes $900M Worldwide” dated January 5, 2020, which utilized the
             Lightsaber Photograph. Exhibit 33; Exhibit 40, RFA Nos. 44-45. Cassidy was paid by
             CBM to author the article. Exhibit 40, RFA Nos. 44, 49. The article generated
             advertising revenue for CBM. Exhibit 36.
         -   An article titled “Luke Skywalker’s Big STAR WARS: THE RISE OF SKYWALKER
             Scene Was The Result Of Reshoots” dated January 7, 2020, which utilized the R2-D2
             Photograph. Exhibit 34; Exhibit 41, RFA Nos. 49-50. Wilding was paid by CBM to
             author the article. Exhibit 41, RFA Nos. 49, 55. The article generated advertising
             revenue for CBM. Exhibit 36.
         -   An article titled “STAR WARS: THE RISE OF SKYWALKER Passes $500 Million
             At The Domestic Box Office” dated January 26, 2020, which utilized the Lightsaber
             Photograph. Exhibit 35; Exhibit 40, RFA Nos. 50-51. Cassidy was paid by CBM to
             author the article. Exhibit 40, RFA Nos. 50, 55. The article generated advertising
             revenue for CBM. Exhibit 36.
         According to Defendants, the Star Wars Photographs contained in the Infringing Articles
  “were displayed on CBM’s website by embedding the image and linking back to a third-party
  server that was not owned or controlled by CBM” and that the Star Wars Photographs “are not and


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   were not stored on servers belonging to or controlled by CBM or Nathan Best.” Exhibit 44
   Counterclaim at ¶¶ 23-24.
          Trunk Archive now moves for summary judgment against Defendants for infringement.
 III.     SUMMARY JUDGMENT STANDARD
          Summary judgment is appropriate if the pleadings and the evidence demonstrate “there is
   no genuine issue as to any material fact and that the moving party is entitled to judgment as a
   matter of law.” Fed. R. Civ. P. 56. The party seeking summary judgment bears the initial burden
   of demonstrating that no genuine dispute of material fact exists. Celotex Corp. v. Catrett, 477 U.S.
   317, 323 (1986). Summary judgment is appropriate if the non-moving party fails to offer “evidence
   on which the jury could reasonably find for the [non-moving party].” Anderson v. Liberty Lobby,
   Inc., 477 U.S. 242, 252 (1986). The moving party need only point to the absence of evidence
   proffered by the non-moving party. Celotex, 477 U.S. at 325.

   IV.    SUMMARY JUDGMENT SHOULD BE ENETERED AGAINST DEFENDANTS
          The sole cause of action alleged against all Defendants is a cause of action for copyright
   infringement. To establish a prima facie case of copyright infringement, a plaintiff must
   demonstrate “(1) ownership of a valid copyright, and (2) copying of constituent elements of the
   work that are original.” Feist Pubs., Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991).
          Here, the undisputed facts establish that Trunk Archive, as the exclusive licensor to the
   Star Wars Photographs, has standing to pursue a claim of copyright infringement against

   Defendants, that the Star Wars Photographs qualify for the statutory presumption of validity, and
   that Defendants are liable as direct and vicarious infringers for violation of Trunk Archive’s
   exclusive right to publicly display and to create derivative works of the Star Wars Photographs.
          Thus, summary judgment should be entered in favor of Trunk Archive and against
   Defendants.




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         A.      As The Exclusive Licensor Of The Photographs, Trunk Archive Has Standing
                 To Pursue A Copyright Infringement Claim Against Defendants.
         The first element of a copyright infringement case requires a plaintiff to demonstrate
  ownership of a valid copyright. Feist Pubs., Inc., 499 U.S. at 361. To have standing to bring the
  infringement claim alleged in the complaint, Trunk Archive must show that it is “[t]he legal or
  beneficial owner of an exclusive right under a copyright.” 17 U.S.C. § 501(b). Pursuant to 17
  U.S.C. § 204, “[A] transfer of copyright ownership, other than by operation of law is not valid
  unless an instrument of conveyance, or a note or memorandum of the transfer, is in writing and
  signed by the owner of the rights conveyed or such owner’s duly authorized agent.”
         “Either an assignment (which transfers legal title to the transferee) or an exclusive license
  (which transfers an exclusive permission to use to the transferee) qualifies as a ‘transfer’ of a right
  in copyright for purpose of the Act.” DRK Photo v. McGraw-Hill Global Education Holdings,
  LLC, 870 F.3d 978, 983 (9th Cir. 2017) (quoting Minden Pictures, Inc. v. John Wiley & Sons, Inc.,

  795 F.3d 997, 1003 (9th Cir. 2015) (holding that Plaintiff has standing to bring an infringement
  action under the Copyright Act because the Agency Agreements conveyed rights via an “exclusive
  license”)). “[A] license is an authorization by the copyright owner to enable another party to
  engage in behavior that would otherwise be the exclusive right of the copyright owner, but without
  transferring title in those rights.” F.B.T. Prods., LLC v. Aftermath Records, 621 F.3d 958, 965 (9th
  Cir. 2010).
         Here, Trunk Archive has standing to pursue its infringement claim based on the Artist

  Agreement it executed with Leibovitz, the creator of the Star Wars Photographs. On or about
  November 12, 2014, Leibovitz entered into the Artist Agreement with Trunk Archive for exclusive
  worldwide representation to license her photographs. Exhibit 14. Under the terms of the Artist
  Agreement, Leibovitz granted Trunk Archive “the exclusive worldwide right to license, market,
  and promote the Licensed Images … for all uses in any and all media.” Exhibit 14, ¶ 1.
         Because the Artist Agreement provides for Trunk Archive to hold “the exclusive worldwide
  right to license” images provided under the Artist Agreement, it constitutes a valid transfer of

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  rights pursuant to 17 U.S.C. § 204. After each of the Star Wars Photographs were first published
  in Vanity Fair, they were provided to Trunk Archive for licensing under the terms of the Artist
  Agreement. See Exhibit 14, ¶ 2 (The term “Licensed Image” is defined as “images provided to
  Trunk Archive by Artist or Artist’s authorized agent for representation.”). Because the Star Wars
  Photographs are “Licensed Images” as defined in the Artist Agreement, Trunk Archive possesses
  the exclusive right to license them to third parties and therefore possesses standing to pursue any
  infringements of the Star Wars Photographs. See Great Bowery v. Best Little Sites, No. 2:21-cv-
  00567-DBB-JCB, 2023 U.S. Dist. LEXIS 77562, at *25 (D. Utah May 2, 2023) (“Trunk Archive
  does not assert that it was the original copyright owner of the Subject Images. It asserts instead
  that Ms. Leibovitz granted it the exclusive right to license the images. As such, Trunk Archive has
  plausibly pled that it held all six rights under Section 106.”).
         In conclusion, summary judgment should be entered in favor of Trunk Archive as to the

  issue of standing.
         B.      The Photographs Qualify For The Statutory Presumption Of Validity.
         In addition to ownership, the first element of a copyright infringement claim also requires
  that the copyrights at issue be valid. Feist Pubs., Inc., 499 U.S. at 361. A copyright in a work is
  valid if the work itself is original. Id. at 345 (“Original, as the term is used in copyright, means only
  that the work was independently created by the author (as opposed to copied from other works),
  and that it possesses at least some minimal degree of creativity. [Citation]. To be sure, the requisite

  level of creativity is extremely low; even a slight amount will suffice. The vast majority of works
  make the grade quite easily, as they possess some creative spark, no matter how crude, humble or
  obvious it might be. [Citation and quotation omitted].).
          A certificate of registration validly obtained from the Copyright Office within five years of
  first publication of a work constitutes prima facie evidence of the originality of the work and of the
  facts stated therein. See 17 U.S.C. § 410(c).




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          Here, each of the Star Wars Photographs was registered with the United States Copyright
  Office within five years of first publication and therefore qualifies for the statutory presumption of
  validity.
          On or about May 24, 2017, the Holdo, DJ, Skywalker, Connix, and Dameron Photographs
  were first published in the 2017 Vanity Fair Article. Exhibit 15. Leibovitz registered the Holdo
  Photograph, Skywalker Photograph, Connix Photograph, and Dameron Photograph as part of a
  group registration of photographs under registration certificate VA 2-111-252 with an effective
  registration date of July 10, 2017. Exhibit 12.
          Likewise, on or about May 22, 2019, the Millennium Falcon, R2-D2, Finn, Hux,
  Production, and Lightsaber Photographs were first published in the 2019 Vanity Fair Article.
  Exhibit 16. Leibovitz registered the Millennium Falcon Photograph, R2-D2 Photograph, Finn
  Photograph, Hux Photograph, Production Photographs, and Lightsaber Photograph as part of a

  group registration of photographs under registration certificate VA 2-192-380 with an effective
  registration date of January 16, 2020. Exhibit 13.
          Because all of the Star Wars Photographs were registered within five years of first
  publication and such registration was accepted by the United States Copyright Office, the Star
  Wars Photographs are presumptively valid, and the first element of Trunk Archive’s infringement
  case is satisfied. See 17 U.S.C. § 410(c).
          Even if Trunk Archive were not afforded the statutory presumption of validity, the Star Wars

  Photographs would easily make the grade. Photographs are generally viewed as creative, aesthetic
  expressions of a scene or image and have long been the subject of copyright. See 17 U.S.C. §
  102(a)(5) (extending copyright protection to “pictorial, graphic, and sculptural works”); Indeed, the
  idea that photography is art deserving of copyright protection reflects a longstanding view of Anglo-
  American law. See Jewelers’ Circular Pub. Co. v. Keystone Pub. Co., 274 F. 932, 934 (S.D.N.Y.
  1921) (“no photograph, however simple, can be unaffected by the personal influence of the author.”)
  (Hand, J.).

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         In the seminal case affording copyright protection to photographs, the Supreme Court held
  that a photographic portrait of Oscar Wilde was entitled to copyright protection because of various
  creative elements employed by the photographer. Burrow–Giles Lithographic Co. v. Sarony, 111
  U.S. 53 (1884); see also Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068, 1074 (9th Cir. 2000)
  (affirming copyrightability of photograph of vodka bottle and noting the “prevailing view” that
  “almost any[] photograph may claim the necessary originality to support a copyright merely by
  virtue of the photographers’ [sic] personal choice of subject matter, angle of photograph, lighting,
  and determination of the precise time when the photograph is to be taken.”).
         Here, Trunk Archive has submitted copies of the Star Wars Photographs as part of the
  record. See Exhibits 1-11. It is clear that Leibovitz, one of the world’s best known and most
  accomplished portrait photographers, imbued the Star Wars Photographs with numerous elements
  of creativity such that they meet the relatively low bar of originality. Ibid.

         Thus, Trunk Archive has established that the Star Wars Photographs are valid for purposes
  of the first element of Trunk Archive’s copyright infringement claim and summary judgment
  should be entered in Trunk Archive’s favor.
         C.      Defendants Are Liable For Violation Of The Rights To Create Derivative
                 Works And Public Display.
         As to the second element of copyright infringement, the term copying “is a shorthand
  reference for the act of infringing any of the copyright owner’s exclusive rights set forth in 17
  U.S.C. § 106, which include the right to ‘display’ the copyrighted work publicly.” Paramount

  Pictures Corp. v. Video Broad. Sys., Inc., 724 F. Supp. 808, 819 (D. Kan. 1989); see also 17 U.S.C.
  § 106(5). In addition to the public display right, a separate actionable right is the right of the
  copyright holder to create derivative works. 17 U.S.C. § 106(2)
         Copyright infringement is a strict-liability cause of action; a defendant may be held liable
  for the tort even absent an intent to infringe. Millennium Funding, Inc. v. Priv. Internet Access,
  Inc., 2022 U.S. Dist. LEXIS 187487, *23, 2022 WL 7560395 (D. Col., Oct. 13, 2022) citing UMG
  Recordings, Inc. v. Disco Azteca Distributors, Inc., 446 F. Supp. 2d 1164, 1172 (E.D. Cal. 2006);

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  see also Sygma Photo News, Inc. v. High Soc. Magazine, Inc., 778 F.2d 89, 92 (2nd Cir. 1985)
  (“All persons and corporations who participate in, exercise control over, or benefit from the
  infringement are jointly and severally liable as copyright infringers.”).
         As explained more fully in Section V3, Defendants are liable for the infringing public
  display of the Star Wars Photographs on the CBM Website. Even if Defendants are not liable for
  violation of the display right, Defendants are also liable for infringement based on the creation of
  unauthorized derivative works as a result of incorporating the Star Wars Photographs into the
  Infringing Articles.
         Here, Defendants Cassidy and Wilding are both liable as direct infringers since they
  authored the Infringing Articles and caused the Star Wars Photographs to be included.
  Additionally, Defendants CBM and Best are liable as vicarious infringers because they had the
  ability to supervise and control the infringing acts and both financially benefitted from it.

         As such, summary judgment should be entered in favor of Trunk Archive.
                 1.      Defendants Cassidy And Wilding Are Liable As Direct Infringers.
         To succeed on a direct copyright infringement claim, the plaintiff must show “volitional
  conduct” by the defendant. Millennium Funding, Inc., 2022 U.S. Dist. LEXIS 187487 at *40
  (citing cases). “But ‘volition’ in this context does not really mean an ‘act of willing or choosing’
  or an ‘act of deciding.’” Ibid. (citation omitted). “Rather, the volitional-conduct requirement
  ‘stands for the unremarkable proposition that proximate causation historically underlines copyright

  infringement liability no less than other torts.’” Ibid. (citation omitted). “As its name suggests,
  direct liability must be premised on conduct that can reasonably be described as the direct cause
  of the infringement.” Ibid. (citation omitted, emphasis in original).



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    This section of Trunk Archive’s Motion focuses primarily on the theories of direct and vicarious
  infringement. Specific discussion of the merits of Defendants violation of the “display right” and
  “derivative works” right is described in Section V in the context of defeating Defendants’
  Counterclaim, however an identical argument can be advanced to support summary judgment in
  favor of Trunk Archive’s infringement claim.
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          At issue in this case are fifteen Infringing Articles posted on the CBM Website which
  utilized copies of the Star Wars Photographs. Nine of the Infringing Articles were authored by
  Defendant Cassidy, and six of the Infringing Articles were authored by Defendant Wilding. See
  Exhibits 21-35.
          As explained in Section 1.C, supra, Cassidy and Wilding have admitted that each of the
  Infringing Articles that they authored contained various iterations of the Star Wars Photographs,
  and have also admitted that their actions “caused a version of the image to be viewable from within
  th[e] article” on the CBM Website. See Exhibits 40-41. In other words, by authoring the Infringing
  Articles and “caus[ing] a version of the [Star Wars Photographs] to be viewable from within [each]
  article,” Defendants Cassidy and Wilding directly caused the Star Wars Photographs to be
  exhibited on the CBM Website. See Exhibits 21-35.
          Thus, Defendants Cassidy and Wilding are direct infringers of the Star Wars Photographs,

  and summary judgment should be entered in favor of Trunk Archive.
                    2.    Defendants CBM And Best Are Liable As Vicarious Infringers.
          Vicarious liability attaches when the defendant has the right and ability to supervise the
  infringing activity and has a direct financial interest in such activities, even if he or she is not aware
  of the infringing activity. Diversey v. Schmidly, 738 F.3d 1196, 1204 (10th Cir. 2013); Metro-
  Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, n.9 (2005). When assessing vicarious
  liability, it does not matter whether the underlying direct infringer is an employee or an

  independent contractor. See Gershwin Publishing Corp. v. Columbia Artists Management,
  Inc., 443 F.2d 1159, 1162 (2nd Cir. 1971). (A “proprietor [is] liable for the infringement of
  copyright resulting from the performance of a musical composition by a band or orchestra whose
  activities provide the proprietor with a source of customers and enhances income. He is liable
  whether the band is considered, as a technical matter, an employee, or an independent
  contractor.” [emphasis added]).



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          Thus, the imposition of vicarious liability “even in the absence of an intention to infringe
  or knowledge of infringement, is not unusual. Shapiro, Bernstein & Co. v. H.L. Green Co., 316
  F.2d 304, 308 (2nd Cir. 1963) (citations omitted); Broad. Music, Inc. v. Carey-On Saloon, LLC,
  2014 U.S. Dist. LEXIS 16312, *13-14 (D. Col., Feb. 7, 2014) (“Vicarious liability may also be
  found even when the defendant lacks knowledge of the copyrighted compositions to be played or
  any control over their selection by the direct infringer, [cite] lacks any intention to infringe, [cite]
  or instructs the performers to perform no infringing material.”).
          Here, Defendant CBM and Best both satisfy the two prongs of vicarious infringement. As
  to the first prong, both CBM and Best have the right and ability to supervise all content that is
  posted to the CBM Website. Defendant Best has the ability to view all content posted on the
  Website, including content queued for future posts, and can edit or delete the content of any post
  uploaded to the Website. Exhibit 38, Interrogatory No. 2. Because Defendant Best is the sole owner

  and President of Defendant CBM (Exhibit 43 at ¶26; Exhibit 44 at ¶26) his admittedly unfettered
  right and ability to supervise the content on the CBM Website is also attributable to CBM.
          Whether or not CBM and Best chose to affirmatively exercise their right to supervise or
  control the content of the CBM Website is irrelevant; it only matters that such a right exists. See
  Playboy Enters., Inc. v. Webbworld Inc., 991 F. Supp. 543, 554 (N.D. Tex. 1997) (“The reluctance
  of Ives to exercise his authority is not determinative of the issue. Courts that have examined the
  issue of vicarious liability have focused not on actual exercise of control but rather on the ‘right

  and ability’ to exercise control.”); Red Giant, Inc. v. Molzan, Inc., 2009 U.S. Dist. LEXIS 63990,
  at *20 (S.D. Tex. July 24, 2009) (“[I]t follows that Defendant Bruce had the right and ability to
  control the infringing activities at the Piano Room, regardless of whether or not he chose to
  exercise that right”).
          Thus, because CBM and Best have complete editorial authority and control over the CBM
  website, including the ability edit or delete content queued for future posts, the undisputed



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  evidence demonstrates that Defendants CBM and Best have satisfied the first prong of the
  vicarious liability analysis.
          The second prong requires that Defendants Best and CBM have a direct financial interest
  in the infringing activity. The Ninth Circuit case Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d
  259 (9th Cir. 1996) is particularly instructive on this point. See Warner Records Inc. v. Charter
  Communs., Inc., 454 F. Supp. 3d 1069, 1074 (D. Col., April 15, 2020) (Citing Fonovisa and noting
  that “Tenth Circuit cases that address similar [vicarious liability] issues cite particular Ninth
  Circuit cases favorably.”).
          Fonovisa, involved a plaintiff (Fonovisa) that owned copyrights to Latin music recordings
  and a defendant (Cherry Auction) that operated a swap meet in Fresno, California. Fonovisa, Inc.,
  76 F.3d at 261. Vendors paid Cherry Auction a daily rental fee in exchange for booth space. Ibid.
  Fonovisa brought an action against Cherry Auction alleging it was vicariously and contributorily

  liable for infringement of Fonovisa’s copyrights through its vendors’ sales of counterfeit
  recordings. The district court dismissed the complaint reasoning that Cherry Auction did not
  receive a direct financial benefit since it did not directly profit from the sales of the infringing
  recordings. Id. at 262.
          On appeal, the Ninth Circuit reversed holding that a financial benefit exists where the
  availability of infringing material “acts as a ‘draw’ for customers.” Id. at 263. The court noted that
  Fonovisa reaped numerous financial benefits from the sales of the infringing recordings including

  the daily rental fee from the vendors and incidental payments for admission, parking, food and
  other services by customers seeking to purchase infringing recordings. Id. at 263.
          It is clear that the availability of the Star Wars Photographs in the Infringing Articles were
  meant to act as a “draw” for Internet users to visit the CBM Website. For example, the headline of
  one of the Infringing Articles -- “STAR WARS: THE LAST JEDI Actress Laura Dern Shares New
  Image Of Vice Admiral Amilyn Holdo” --- directly teased the inclusion of the infringing Holdo
  Photograph as a means to entice readers to view the article. See Exhibit 21.

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          Even if the inclusion of the Star Wars Photographs was not the main “draw” to the
  Infringing Articles, the financial benefit prong would still be satisfied. “The essential aspect of the
  ‘direct financial benefit’ inquiry is whether there is a causal relationship between the infringing
  activity and any financial benefit a defendant reaps, regardless of how substantial the benefit is in
  proportion to a defendant's overall profits.” Warner Records Inc. v. Charter Communs., Inc., 454
  F. Supp. 3d 1069, 1074 (D. Col. April 15, 2020) (citation and quotation omitted). “This language
  does not suggest that plaintiffs must show that the draw of infringing activity was ‘the attracting
  factor’ [] but rather an attracting factor.” Ibid. (citation and quotation omitted, emphasis in
  original).
          In this case the financial benefits reaped by Defendants CBM and Best are much more
  direct than those in Fonovisa. Whereas the financial benefit in Fonovisa was realized through
  revenues that were incidental to the infringing conduct alleged, in this case the Infringing Articles

  containing the infringing Star Wars Photographs were directly monetized via advertising revenues
  based on the number of views. Exhibit 43 at ¶75; Exhibit 44 at ¶75; Exhibit 36. Not only would
  the views of the Infringing Articles themselves generate revenues, but once Internet users were
  drawn to the CBM Website, it is likely that they would view additional content on the Website
  resulting in even more revenue flowing directly into CBM’s coffers. See Exhibit 36.
          Because Defendant Best is compensated directly from the revenues generated by the
  Website (see Exhibit 38, RFA No. 2) he also stood to benefit financially from the successful

  monetization of the Infringing Articles.
          Trunk Archive anticipates that Defendant Best will argue that he cannot be held vicariously
  liable because he was not acting in his individual capacity, but rather Best was acting in his
  capacity as owner of president of CBM. However, it is well established that vicarious liability may
  lie against an individual even if he is acting in his capacity as officer or agent of a corporation.
  Carey-On Saloon, LLC, 2014 U.S. Dist. LEXIS 16312, *16 (D. Col., Feb. 7, 2014) (finding
  vicarious liability for sole owner of saloon performing infringing songs based on “receipt of

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  income from Defendant LLC through the activities at the Saloon” and citing cases); Oliver v. Meow
  Wolf, Inc., 2020 U.S. Dist. LEXIS 221367, *54, 2020 WL 6939875 (D. N.M., Nov. 25, 2020)
  (collecting cases); see also Sanchez v. Hacienda Records & Recording Studio, Inc., 2013 2013
  WL 529950, at *8 (S.D. Tex. Feb. 11, 2013) (“A controlling corporate officer or shareholder may
  be vicariously liable for infringement along with his or her corporation, despite any immunity
  provided by state corporation law.”). Because Defendant Best satisfies both prongs of the vicarious
  infringement analysis, he may be held jointly and severally liable with Defendant CBM regardless
  of his status as a corporate officer of CBM.
           Because Defendants CBM and Best have the right and ability to supervise the content on
  the CBM Website and both receive a direct financial benefit from the advertising revenues
  generated by content on the CBM Website, both are vicariously liable for the infringement of the
  Star Wars Photographs, and summary judgment should be entered in favor of Trunk Archive.

      V.   SUMMARY JUDGMENT MUST BE ENETERED AS TO THE COUNTERCLAIM
           In addition to summary judgment as to Trunk Archive’s copyright infringement claim, the
  Court should also enter summary judgment as to Defendant CBM and Best’s Counterclaim filed
  at Dkt. #49 (“Counterclaim”). As relevant here4, CBM and Best contend in their Counterclaim that
  the Star Wars Photographs “were displayed on CBM’s website by embedding the image and
  linking back to a third-party server that was not owned or controlled by CBM” and that the Star
  Wars Photographs “are not and were not stored on servers belonging to or controlled by CBM or

  Nathan Best.” Exhibit 44 Counterclaim ¶¶ 23-24.
           A.     Embedding Is Not A Defense To Violation Of The Display Right.
           At issue in this case is the practice of embedding. CBM and Best contend that they are not
  liable for infringement because the Star Wars Photographs “were displayed5 on CBM’s website


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   The Counterclaim also alleges that Defendants CBM and Best are protected by DMCA safe
  harbor, however the Court has already entered judgment in favor of Trunk Archive on that issue.
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   Notably, Best and CBM concede that the Star Wars Photographs were “displayed” on the CBM
  Website.
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  by embedding the image and linking back to a third-party server that was not owned or controlled
  by CBM” and that the Star Wars Photographs “are not and were not stored on servers belonging
  to or controlled by CBM or Nathan Best.” Exhibit 44 Counterclaim ¶¶ 23-24.
          The court in Goldman v. Breitbart News Network, LLC, 302 F. Supp. 3d 585, 587 (S.D.N.Y.
  2018) provided the following explanation of the practice of “embedding” photographs on to a website:

          A webpage is made up of a series of instructions usually written by coders in Hypertext Markup
          Language (“HTML”). These instructions are saved to a server (a computer connected to the
          internet), and when a user wishes to view a webpage, his or her computer’s browser connects
          with the server, at which point the HTML code previously written by the coder instructs the
          browser on how to arrange the webpage on the user’s computer. The HTML code can allow
          for the arrangement of text and/or images on a page and can also include photographs. When
          including a photograph on a web page, the HTML code instructs the browser how and where
          to place the photograph. Importantly for this case, the HTML code could instruct the browser
          either to retrieve the photograph from the webpage’s own server or to retrieve it from a third-
          party server.
          “Embedding” an image on a webpage is the act of a coder intentionally adding a specific
          “embed” code to the HTML instructions that incorporates an image, hosted on a third-party
          server, onto a webpage. To embed an image, the coder or web designer would add an “embed
          code” to the HTML instructions; this code directs the browser to the third-party server to
          retrieve the image. An embedded image will then hyperlink (that is, create a link from one
          place in a hypertext document to another in a different document) to the third-party website.
          The result: a seamlessly integrated webpage, a mix of text and images, although the underlying
          images may be hosted in varying locations. Most social media sites—Facebook, Twitter, and
          YouTube, for example—provide code that coders and web designers can easily copy in order
          to enable embedding on their own webpages.
  Goldman, 302 F. Supp. 3d at 587.
          The Copyright Act grants the owner of a copyright exclusive rights to, inter alia, “display
  the copyrighted work publicly.” See 17 U.S.C. § 106(5). “To ‘display’ a work means to show a

  copy of it, either directly or by means of a film, slide, television image, or any other device or
  process . . . .” 17 U.S.C. § 101. With regard to the meaning of ‘publicly’, the Copyright Act
  provides, in relevant part, that:

          [t]o perform or display a work ‘publicly’ means - -
          ...
          (2) to transmit or otherwise communicate a performance or display of the work . . . to the
          public, by means of any device or process, whether the members of the public capable of
          receiving the performance or display receive it in the same place or in separate places and
          at the same time or at different times.

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  17 U.S.C. § 101.
         Cases interpreting this definition have held that a display occurs by “the projection of an
  image on a screen ... by any method, the transmission of an image by electronic or other means,
  and the showing of an image on a cathode ray tube, or similar viewing apparatus connected with
  any sort of information storage retrieval system.” Greenberg v. Nat’l Geographic Soc., 244 F.3d
  1267, 1274 (11th Cir. 2001), overruled on other grounds, 533 F.3d 1244 (11th Cir. 2008). The
  definition’s usage of the phrase “any other device or process” clearly brings showing a copy of a
  work through a computer within the statutory definition of “display.” Thus, per the statutory
  definition, each unauthorized showing of a work through a computer infringes on the owner’s right
  of public display.
         Here, record contains copies of the articles from the CBM Website that displayed the Star
  Wars Photographs at issue. See Exhibits 21-35. Best and CBM concede that the Star Wars

  Photographs “were displayed on CBM’s website” but alleges that they are not liable for violation
  of the display right because the Star Wars Photographs “are not and were not stored on servers
  belonging to or controlled by CBM or Nathan Best.” Exhibit 44 Counterclaim ¶¶ 23-24. According
  to CBM and Best, the fact that the physical image file resides on a third-party server rather than a
  CBM server is enough to evade liability for infringement, regardless of the fact that this distinction
  is an “invisible, technical processes [that is] imperceptible to the viewer” since the viewer only
  sees the final integrated page on the CBM Website, which would appear identical whether or not

  an image is stored on a CBM controlled server or embedded from a third-party source. See
  Goldman, 302 F. Supp. 3d at 595.
         Notably, the text of the Copyright Act does not make actual possession of a copy of a work
  a prerequisite6 for infringement of the display right. To “display” a work, someone need only show


  6
    Physical possession may be required in order to violate some exclusive rights such as the
  reproduction right (§106(1)) or distribution right (§106(3)). However physical possession of a
  work is clearly not a threshold requirement for violation of all the rights enumerated in section
  106. For example, an infringer need not be in physical possession of a copy in order to create a
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  a copy7 of the work via any device or process; a person need not actually physically possess the
  underlying copy to display it. See 17 U.S.C. § 101. And to display a work publicly, a person need
  only transmit or communicate a display to the public. Ibid. “The definition of ‘transmit’ is broad
  enough to include all conceivable forms and combinations of wired and wireless communications
  media.” Greenberg, 533 F.3d at 1279-1280 citing H.R. Rep. No. 94-1476. Again, the person need
  not possess underlying copy in order unlawfully to transmit or communicate it to the public. See
  Leader’s Inst., LLC v. Jackson, 2017 U.S. Dist. LEXIS 193555, at *32 (N.D. Tex. Nov. 22, 2017).
         Under the express statutory definition, a website that utilizes embedding to point to a third-
  party server where a file is stored, publicly displays that image because the underlying HTML code
  initiates a process whereby the user’s browser device is instructed to show the copy of the image to
  the website’s visitor from the third-party server by communicating it to the user via a seamlessly
  integrated webpage presentation. See Goldman, 302 F. Supp. 3d at 590-93 (discussing cases and

  concluding that on the facts at bar, “when defendants caused the embedded Tweets to appear on their
  websites, their actions violated plaintiff’s exclusive display right.”); Jackson, 2017 U.S. Dist. LEXIS
  193555, 2017 WL 5629514 (N.D. Tex. Nov. 22, 2017) (by “framing the defendant’s copyrighted
  works, the plaintiffs impermissibly displayed the works to the public.”).
         This reading of the statute is consistent with the Supreme Court’s prior admonition that, to
  determine whether a work is infringed under the Copyright Act, a court must “focus on the [work] as
  presented to, and perceptible by” the public. N.Y. Times Co. v. Tasini, 533 U.S. 483, 499 (2001). In

  American Broadcasting Cos. v. Aereo, Inc., 573 U.S. 431 (2014) an Internet-based re-transmitter of
  over-the-air television signals argued that it did not “perform the copyrighted work publicly” because
  each transmission technically came from a miniature antenna assigned to each user and, therefore, was


  derivative work (§106(2)) or to engage in a public performance (§106(6)) via an unauthorized
  rebroadcast. See American Broadcasting Cos. v. Aereo, Inc., 573 U.S. 431 (2014).
  7
    Notably the definition does not require that the copy shown be an infringing copy itself. Rather,
  the statute’s use of the standalone word “show” without the qualifying word “infringing” further
  demonstrates that a prospective infringer can violate the display right by impermissibly
  appropriating what would otherwise be a lawfully stored copy of an image on a third-party server.
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  a “private” rather than “public” performance. Id. at 443-46. The Court rejected that argument, noting
  that the technical difference “means nothing to the subscriber. It means nothing to the broadcaster. We
  do not see how this single difference, invisible to subscriber and broadcaster alike, could transform a
  system” from infringing to non-infringing. Id. at 444. “Viewed in terms of Congress’ regulatory
  objectives,” the Court asked rhetorically, “why should any of these technological differences matter?”
  Id. at 446. Aereo therefore provides that it is a practical, functional perspective, and not hyper
  technicalities, that determine whether a particular mode of content delivery is infringing or not.
         Here it is uncontested that visitors to the CBM Website could view the Star Wars Photographs
  directly on the CBM Website in the Infringing Articles even though the Star Wars Photographs
  themselves were displayed via the practice of “embedding.” See Exhibits 21-35. It is also undisputed
  that the Infringing Articles generated advertising revenue for the CBM Website. Exhibit 36.
         Defendant CBM and Best would have this Court adopted the “server test” which is only

  followed in the Ninth Circuit. Under this test, the determination of whether a website publisher is
  liable for infringement turns entirely on whether the image is hosted on the publisher’s own server,
  or is embedded or linked from a third-party server. Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d
  1146, 1159 (9th Cir. 2007).
         The Ninth Circuit’s approach, under which no display is possible unless the alleged
  infringer has also stored a copy of the work on the infringer's computer, makes the display right
  merely a subset of the reproduction right. Nicklen v. Sinclair Broad. Grp., Inc., 551 F. Supp. 3d

  188, 195 (S.D.N.Y., July 30, 2021). Congress did “not intend ... to freeze the scope of
  copyrightable technology” to then-existing methods of expression. H.R. Rep. 94-1476, 47, 51
  (1976). Specifically, in considering the display right, Congress cast a very wide net, intending to
  include “[e]ach and every method by which the images ... comprising a ... display are picked up
  and conveyed,” assuming that they reach the public. Id. at 64. It further noted that “‘display’ would
  include the projection of an image on a screen or other surface by any method, the transmission of
  an image by electronic or other means, and the showing of an image on a cathode ray tube, or

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  similar viewing apparatus connected with any sort of information storage and retrieval system.”
  Id. Indeed, an infringement of the display right could occur “if the image were transmitted by any
  method (by closed or open circuit television, for example, or by a computer system) from one place
  to members of the public elsewhere.” Id. at 80.
          Under the server test, a photographer who allows his work to be distributed on the Internet
  “surrenders control over how, when, and by whom their work is subsequently shown — reducing
  the display right, effectively, to the limited right of first publication that the Copyright Act of 1976
  rejects." Nicklen, 551 F. Supp. 3d 188.
          Indeed, allowing the invisible process of “embedding” to control the determination of liability
  would invite website publishers to abuse and circumvent copyright protection by simply adjusting
  a few lines of code. See Perfect 10 v. Google, Inc., 416 F. Supp. 2d 828, 839 (C.D. Cal.
  2006) (“[S]omeone could create a website entitled ‘Infringing Content For All!’ with thousands of

  in-line links to images on other websites that serve infringing content. That website, however,
  would be immune from claims of direct infringement because it does not actually serve the
  images.” [emphasis in original]). By exploiting this hyper technical loophole, websites such as
  CBM would be able to retain all benefits of placing desirable copyrighted content on its Website
  --- increased visitor traffic which ostensibly would increase the potential to monetize the CBM
  Website via advertising – all the while avoiding legal liability or the obligation to pay the content
  creators the customary price for using their copyrighted content.

          Thus, under the definition of “public display” enumerated in the Copyright Act, the mere
  “embedding” of the Star Wars Photographs onto the CBM Website is not a defense to liability.
  Therefore, the Court should enter summary judgment in favor of Trunk Archive.

          B.      Even If Embedding Is A Defense To Violation Of The Display Right,
                  Defendants Could Still Be Liable For Creating An Unauthorized Derivative.
          Although Trunk Archive’s primary theory on summary judgment is that Defendants have
  violated the display right, to the extent that the Court concludes that embedding is not a violation


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  of the display right Trunk Archive would submit that Defendants could still be liable for
  infringement based on the creation of an unauthorized derivative works of the Star Wars
  Photographs by incorporating them into the Infringing Articles.
           The Copyright Acts provides for protection against the preparation of unauthorized
  derivatives of a copyrighted work. 17 U.S.C. § 106(2). A “derivative work” is a work based upon
  one or more preexisting works, such as a translation, musical arrangement, dramatization,
  fictionalization, motion picture version, sound recording, art reproduction, abridgment,
  condensation, or any other form in which a work may be recast, transformed, or adapted. 17 U.S.C.
  § 101.
           Under the “server test,” a public display of a photographic image on an Internet website
  cannot occur unless the infringer reproduces a copy of that photographic image onto a server
  controlled by the infringer. See Nicklen, 551 F. Supp. 3d 188, 195 (Observing that the Ninth

  Circuit’s approach, under which no display is possible unless the alleged infringer has also stored
  a copy of the work on the infringer’s computer, makes the display right merely a subset of the
  reproduction right.). Unlike the “server test” which requires physical reproduction and possession
  of an infringing copy to facilitate a public display, the textual definition of “derivative work” does
  not require an infringer to be in possession of a physical copy in order to violate the right. That is
  because the “display right” can only be applied to “pictorial, graphic, and sculptural works” since
  a display only occurs when one “show[s] a copy of” a work which involves the actual manipulation

  of a physical work itself8. In contrast, the creation of a derivative can be applied to practically all
  copyrighted works whatsoever their nature, and does not require an infringer to make or possess a
  copy9 to violate the right.



  8
      For example, one could “display” a photograph but could not “display” a musical work.
  9
     For example, one could create an unauthorized derivative literary work by recasting,
  transforming, or adapting the copyrighted characters from the Harry Potter franchise into a new
  book without actually possessing or making a copy of the books from the original series.
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         According to the legislative history of the Copyright Act, the exclusive right to prepare
  derivative works in §106(2) is broader than the reproduction right in §106(1) “in the sense that
  reproduction requires fixation in copies or phonorecords, whereas the preparation of a derivative
  work . . . may be an infringement even though nothing is ever fixed in tangible form.” House
  Report No. 94-1476. Rather, “the definition in section 101 refers to ‘a translation, musical
  arrangement, dramatization, fictionalization, motion picture version, sound recording, art
  reproduction, abridgment, condensation, or any other form in which a work may be recast,
  transformed, or adapted.’ Thus, to constitute a violation of section 106(2), the infringing work
  must incorporate a portion of the copyrighted work in some form.” Ibid.
         As the legislative history makes clear, Defendants’ utilization of “embedding” to
  incorporate the Star Wars Photographs on to the CBM Website as part of the Infringing Articles
  constitutes a violation of the exclusive right to prepare derivative works, even though “embedding”

  does not result in physical reproduction or fixation of the Star Wars Photographs onto the servers
  of the CBM Website since “fixation” is not a prerequisite to a violation of §106(2).
         An identical scenario occurred in the case Michael Grecco Prods. v. Valuewalk LLC, 345
  F. Supp. 3d 482, 501 (S.D.N.Y., Nov. 6, 2018).
         In Valuewalk, the plaintiff owned the rights to a photograph of Jeffrey Gundlach, a
  prominent bond trader. Id. at 493. The defendant, an online financial news outlet, created a series
  of “Resource Pages” — essentially news articles profiling a notable person — including one

  illustrated by the plaintiff’s photograph. Id. at 502. In entering summary judgment for the plaintiff,
  the Valuewalk court noted that the Resource Page “was precisely the type of work for which
  [Plaintiff] created the photograph” and that because the photograph was used to illustrate the page
  and was not authorized by the plaintiff “the Resource Pages are unauthorized derivatives as a
  matter of law.” Ibid.
         Here, like the Resource Pages in Valuewalk, the Star Wars Photographs were clearly used
  by Defendants to illustrate the Infringing Articles. See Exhibits 21-35. The Infringing Articles

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  themselves constitute unauthorized derivative works because they recast the Star Wars
  Photographs without authorization as a means of illustration. It does not matter whether the Star
  Wars Photographs that were integrated into the Infringing Articles were placed there as a result of
  embedding them from a third-party server. Rather, the act of adapting them for use within the
  Infringing Articles without authorization violated §106(2). See Greenberg, 244 F.3d at 1274 (11th
  Cir. 2001) (“The Society has selected ten preexisting works, photographs included in covers of ten
  issues of the Magazine, including Greenberg’s, and transformed them into a moving visual
  sequence that morphs one into the other over a span of approximately 25 seconds. Moreover, the
  Society repositioned Greenberg’s photograph from a horizontal presentation of the diver into a
  vertical presentation of that diver. Manifestly, this Sequence, an animated, transforming selection
  and arrangement of preexisting copyrighted photographs constitutes … a derivative work.”);
  Jarvis v. K2 Inc., 486 F.3d 526, 531 (9th Cir. 2007) (Derivative work found where infringing ads

  utilized the copyrighted images “while also combining them with photos taken by other
  photographers, additional graphics, the K2 logo and marketing slogans.”)
         Thus, to the extent that the Counterclaim asserts that the practice of “embedding”
  constitutes a complete defense to infringement, it must fail.
         Finally, when determining whether Defendants’ conduct constituted the creation of an
  infringing derivative, it does not matter whether the Infringing Articles contained additional non-
  infringing material:

         As Judge Learned Hand cogently remarked, “no plagiarist can excuse the wrong by
         showing how much of his work he did not pirate.” [cite]. “The question in each case is
         whether the similarity relates to matter that constitutes a substantial portion of plaintiff's
         work - not whether such material constitutes a substantial portion of defendant's work.”
         [cite].
  Jacobsen v. Deseret Book Co., 287 F.3d 936, 945 (10th Cir. 2002).
         Thus, as the Tenth Circuit has instructed, the Court should not concern itself with whether
  or not the Star Wars Photographs constitute a substantial part of the Infringing Articles. Rather,
  the Court must consider only whether Defendants utilized a substantial portion of the Star Wars

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  Photographs in the Infringing Articles. Ibid. As the evidence clearly demonstrates, the entirety of
  the unaltered Star Wars Photographs was visible in the Infringing Articles, rendering the usage
  clearly substantial.
          In conclusion, the Counterclaim’s reliance on embedding as a defense to a violation of the
  display right does not pass legal muster because the act of embedding the Star Wars Photographs
  within the Infringing Articles still meets the statutory definition of public display. Even if
  embedding were a defense to the public display right, the act of embedding the Star Wars
  Photographs into the Infringing Articles without permission also violates Trunk Archive’s right to
  create derivative works.
          As such, summary judgment should be entered in favor of Trunk Archive.
 VI.      DEFENDANTS AFFIRMATIVE DEFENSES ALSO FAIL
          Each Defendant also raised a number of affirmative defenses to Trunk Archive’s

  infringement claim. Defendants bear the burden of production, and if Defendants fail to meet that
  burden as to some of all of the affirmative defenses, the Court must enter summary judgment in
  favor of Trunk Archive. Nonetheless, for the sake of completeness, Trunk Archive will briefly
  address Defendants’ affirmative defenses.
          A.      Failure To State A Claim.
          As a first affirmative defense, all Defendants contend that Trunk Archive has failed to state
  a claim. As demonstrated in Section III above, Trunk Archive has stated a claim for copyright

  infringement against all defendants.
          As such, summary judgment should be entered in favor of Trunk Archive.
          B.      No Damages.
          As a second affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred for lack of damages.
          Entitlement to monetary damages is not an element of a copyright claim. Predator Int'l,
  Inc. v. Gamo Outdoor United States, 2013 U.S. Dist. LEXIS 36866, *19, 2013 WL 1129404 (D.


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  Col., Mar. 18, 2013). Because it is not an element of an infringement claim, lack of damages is not
  a valid affirmative defense.
         As such, summary judgment should be entered in favor of Trunk Archive.
         C.      Public Policy.
         As a third affirmative defense, all Defendants contend that Trunk Archive’s claim is barred
  because it runs contrary to public policy.
         The Court has already stricken this defense as insufficient. See Dkt. #70.
         As such, summary judgment should be entered in favor of Trunk Archive.
         D.      Failure To Mitigate.
         As a fourth affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred for failure to mitigate damages.
         The Court has already stricken this defense as insufficient. See Dkt. #70.

         As such, summary judgment should be entered in favor of Trunk Archive.
         E.      DMCA Safe Harbor.
         As a fifth affirmative defense, all Defendants contend that Trunk Archive’s claim is barred
  by DMCA Safe Harbor protection.
         The Court has already entered judgment on the pleadings in favor of Trunk Archive on this
  issue. See Dkt. #85.
         As such, summary judgment should be entered in favor of Trunk Archive.
         F.      Res Judicata.
         As a sixth affirmative defense, all Defendants contend that Trunk Archive’s claim is barred
  by collateral estoppel, res judicata, and claim splitting.
         Defendants have not specifically explained how or why collateral estoppel, res judicata,
  and/or claim splitting apply in this context. The Court has already ruled that claim splitting is
  inapplicable here. Dkt. # 48. Absent a more specific showing from Defendants, this affirmative
  defense must fail.
         As such, summary judgment should be entered in favor of Trunk Archive.

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          G.     Lack Of Actual Knowledge.
          As a seventh affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred because they lacked actual knowledge of the infringing activity.
          As explained in Section III above, copyright infringement is a strict-liability regime, and
  Defendants can be held liable absent actual knowledge of the infringement.
          As such, summary judgment should be entered in favor of Trunk Archive.
          H.     Lack Of Material Contribution.
          As an eighth affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred because they did not materially contribute to the infringing acts alleged.
          As explained in Section III above, Trunk Archive seeks to hold defendants liable on a
  theory of direct and vicarious infringement. Material contribution is not an element of either of
  these theories, but rather is an element of contributory liability, which is not a theory advanced

  here.
          As such, summary judgment should be entered in favor of Trunk Archive.
          I.     Lack Of Intent.
          As a ninth affirmative defense, all Defendants contend that Trunk Archive’s claim is barred
  because they lacked intent to infringe.
          As explained in Section III above, copyright infringement is a strict-liability regime, and
  Defendants can be held liable absent actual intent to infringe.
          As such, summary judgment should be entered in favor of Trunk Archive.
          J.     Expeditious Removal.
          As a tenth affirmative defense, all Defendants contend that Trunk Archive’s claim is barred
  because they acted expeditiously to remove the infringing content.
          While removal of the infringing content is certainly welcome, it does not absolve
  Defendants of their originally infringing acts. Defendants cite no authority stating otherwise.
          As such, summary judgment should be entered in favor of Trunk Archive.




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         K.        No DMCA Takedown Notification.
         As an eleventh affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred for failure to submit a DMCA takedown request.
         The Court has already entered judgment on the pleadings in favor of Trunk Archive on the
  DMCA. See Dkt. #85.
         As such, summary judgment should be entered in favor of Trunk Archive.
         L.        Embedding.
         As a twelfth affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred because the photographs at issue do not reside on a system or network operated by
  Defendants.
         As explained in Section IV above, this is not a defense to copyright infringement.
         As such, summary judgment should be entered in favor of Trunk Archive.
         M.        No Proximate Damages.
         Similar to the second affirmative defense, Defendants’ thirteenth affirmative defense
  contends that Trunk Archive’s claim is barred because any damages were caused by third parties
  and not Defendants.
         Entitlement to monetary damages is not an element of a copyright claim. Predator Int'l,
  Inc. v. Gamo Outdoor United States, 2013 U.S. Dist. LEXIS 36866, *19, 2013 WL 1129404 (D.
  Col., Mar. 18, 2013). Because damages is not an element of an infringement claim this affirmative
  defense fails.

         As such, summary judgment should be entered in favor of Trunk Archive.
         N.        Bad Faith.
         As a fourteenth affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred by bad faith conduct.
         Defendants have not specifically identified the bad faith conduct in question or cited any
  authority as to why it bars Trunk Archive’s claims. Absent a more specific showing from
  Defendants, this affirmative defense must fail.


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         As such, summary judgment should be entered in favor of Trunk Archive.
         O.      Unjust Enrichment.
         As a fifteenth affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred by the doctrine of unjust enrichment.
         The Court has already stricken this defense as insufficient. See Dkt. #70.
         As such, summary judgment should be entered in favor of Trunk Archive.
         P.      Lack Of Malice.
         As a sixteenth affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred because they did not act with malice.
         As explained in Section III above, copyright infringement is a strict-liability regime, and
  Defendants can be held liable absent actual intent to infringe.
         As such, summary judgment should be entered in favor of Trunk Archive.
         Q.      Unclean Hands.
         As a seventeenth affirmative defense, all Defendants contend that Trunk Archive’s claim
  is barred by unclean hands.
         Defendants have not specifically identified the bad faith conduct in question or cited any
  authority as to why it bars Trunk Archive’s claims. Absent a more specific showing from
  Defendants, this affirmative defense must fail.
         As such, summary judgment should be entered in favor of Trunk Archive.
         R.      Good Faith.
         As an eighteenth affirmative defense, all Defendants contend that Trunk Archive’s claim
  is barred because Defendants acted in good faith.
         As explained in Section III above, copyright infringement is a strict-liability regime, and
  Defendants can be held liable absent actual intent to infringe.
         As such, summary judgment should be entered in favor of Trunk Archive.




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          S.       Infliction Of Own Harm.
          As a nineteenth affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred because Trunk Archive inflicted its own harm and damages.
          Entitlement to monetary damages is not an element of a copyright claim. Predator Int'l,
  Inc. v. Gamo Outdoor United States, 2013 U.S. Dist. LEXIS 36866, *19, 2013 WL 1129404 (D.
  Col., Mar. 18, 2013). Because damages is not an element of an infringement claim this affirmative
  defense fails.
          As such, summary judgment should be entered in favor of Trunk Archive.
          T.       No Ability To Supervise Or Control.
          As a twentieth affirmative defense, all Defendants contend that Trunk Archive’s claim is
  barred because they did not have the right and ability to supervise the infringing content.
          As explained in Section III, Defendants CBM and Best can both be held vicariously liable

  for the infringement alleged. Trunk Archive has not advanced a theory of vicarious infringement
  against Defendants Cassidy and Wilding, and therefore this affirmative defense is irrelevant as to
  those defendants.
          As such, summary judgment should be entered in favor of Trunk Archive.
          U.       No Financial Benefit.
          As a twenty-first affirmative defense, all Defendants contend that Trunk Archive’s claim
  is barred because they did not have a financial interest in the infringing content sufficient to confer
  vicarious liability.

          As explained in Section III, Defendants CBM and Best can both be held vicariously liable
  for the infringement alleged. Trunk Archive has not advanced a theory of vicarious infringement
  against Defendants Cassidy and Wilding, and therefore this affirmative defense is irrelevant as to
  those defendants.
          As such, summary judgment should be entered in favor of Trunk Archive.




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          V.      Laches And Waiver.
          As a twenty-second affirmative defense, all Defendants contend that Trunk Archive’s
  claim is barred because they did not have a financial interest in the infringing content sufficient to
  confer vicarious liability.
          The Court has already stricken the defense of laches as insufficient. See Dkt. #70. As to
  waiver, “Waiver or abandonment of copyright occurs if there is an intent by the copyright
  proprietor to surrender rights in his work.” Bell v. Mowad Group, LLC, 326 F. Supp. 3d 918 (9th
  Cir. 2018) (citation and quotation omitted). Defendants have not demonstrated intent to surrender
  rights in the Star Wars Photographs. Rather, the record demonstrates the opposite.
          Shortly after the Star Wars Photographs were published, they were registered with the
  United States Copyright Office --- a necessary prerequisite to enforcement. See Exhibits 12-13.
  Likewise, it is undisputed that immediately after publication, Leibovitz granted Trunk Archive

  rights to license the Star Wars Photographs via the Artist Agreement. Exhibit 14. Additionally, as
  this copyright infringement action makes clear, both Trunk Archive and Leibovitz take copyright
  protection and enforcement seriously. Thus, actions taken by Leibovitz and Trunk Archive
  demonstrate that neither had intended to surrender or waive the copyrights to the Star Wars
  Photographs.
          As such, summary judgment should be entered in favor of Trunk Archive.
          W.      Copyright Misuse.
          As a twenty-third affirmative Defendant Cassidy and Wilding allege that Trunk Archive

  has engaged in copyright misuse.
          As an initial matter, some courts have flatly rejected the existence of the “copyright
  misuse” doctrine. See, e.g., Rural Tel. Serv. Co., Inc. v. Feist Publications, Inc., 663 F. Supp. 214,
  220 (D. Kan. 1987); Orth-O-Vision, Inc. v. Home Box Office, 474 F. Supp. 672, 686 (S.D.N.Y.
  1979); Reliability Research, Inc. v. Computer Assocs. Int'l, Inc., 793 F. Supp. 68, 69 (E.D.N.Y.
  1992) (“Neither the Supreme Court nor the Second Circuit has addressed the issue of the existence
  and extent of a misuse of copyright defense.”)

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         Assuming arguendo that the doctrine does exist, the defense of copyright misuse is based
  upon the principle that copyright holders may not leverage their copyright monopoly to allow them
  to control of areas outside the monopoly. Bourne v. Walt Disney Co., 2003 U.S. Dist. LEXIS 2818,
  at *10; 2003 WL 721405, at *4 (S.D.N.Y. Mar. 3, 2003) citing A & M Records, Inc. v. Napster,
  Inc., 239 F.3d 1004, 1026 (9th Cir. 2001). The Copyright Act sets forth a number of exclusive
  rights of a copyright holder. See 17 U.S.C. § 106.
         In Practice Mgmt. Info. Corp. v. AMA, 121 F.3d 516 (9th Cir. 1997) the American Medical
  Association (“AMA”) licensed a copyrighted coding system to the Health Care Financing
  Administration (“HCFA”). Id. at 517-8. The agreement granted HCFA a royalty-free, non-
  exclusive license to use the AMA’s coding system. Ibid. In return, HCFA promised not to use
  any other coding system and also promised to use its powers as a regulatory agency to require use
  of the AMA’s system in programs administered by its agents. Ibid.

         A separate dispute arose between Practice Management, the largest reseller of books of the
  AMA’s coding system, and the AMA. Id. at 518. Practice Management argued in its action for
  declaratory relief that the AMA was misusing its copyrights because the licensing agreement
  between HCFA and the AMA was unduly restrictive. Ibid. The Ninth Circuit looked closely at the
  licensing agreement and sided with Practice Management. Id. at 521. In particular, the court held
  that the requirement that HCFA not use competing coding systems represented an expansion of
  the monopoly power of the AMA’s copyright. Ibid. The court labeled this exclusivity clause the

  “controlling fact.” Ibid. (copyright misuse is implicated by “the limitation imposed by the AMA
  licensing agreement on HCFA's rights to decide whether or not to use other forms as well”).
         In this instance, Cassidy and Wilding cannot allege a copyright misuse because Trunk
  Archive is not attempting to do anything other than enforce the exclusive rights granted to it by
  the Copyright Act. Indeed, Trunk Archive’s claim merely attempts to restrict Cassidy and Wilding
  from their unauthorized copying of the photographs at issue which fall squarely within the scope
  of Trunk Archive’s exclusive rights. See 17 U.S.C. § 106. “The copyright misuse doctrine does

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  not prohibit using conditions to control use of copyrighted material.” Apple Inc. v. Psystar Corp.,
  658 F.3d 1150, 1159 (9th Cir. 2011).
         As such, summary judgment should be entered in favor of Trunk Archive.
         X.      First Amendment.
         As a twenty-fourth affirmative defense Defendants Cassidy and Wilding contend that
  Trunk Archive’s claim is barred by the First Amendment.
         The Court has already stricken this defense as insufficient. See Dkt. #70.
         As such, summary judgment should be entered in favor of Trunk Archive.
         Y.      Fair Use
         As a twenty-third affirmative defense Defendants Cassidy and Wilding contend that Trunk
  Archive’s claim is barred by the doctrine of fair use.
         The Copyright Act lists four factors non-exclusive factors that a court must weigh when

  determining whether a use is fair: (1) the purpose and character of the use, including whether such
  use is of a commercial nature or is for nonprofit educational purposes; (2) the nature of the
  copyrighted work; (3) the amount and substantiality of the portion used in relation to the
  copyrighted work as a whole; and (4) the effect of the use upon the potential market for or value
  of the copyrighted work. 17 U.S.C. § 107.
         Here, all four factors weigh against a finding of fair use.

                 1.      The Purpose And Character Of The Use Weighs Against Fair Use.
         The first fair use factor is “the purpose and character of the use, including whether such

  use is of a commercial nature or is for nonprofit educational purposes.” §107(1). This factor
  considers the reasons for, and nature of, the copier’s use of an original work. Andy Warhol Found.
  for the Visual Arts, Inc. v. Goldsmith, 143 S. Ct. 1258, 1274 (2023).
         The “central” question it asks is “whether the new work merely ‘supersede[s] the objects’
  of the original creation . . . (‘supplanting’ the original), or instead adds something new, with a
  further purpose or different character.” Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579,
  (1994). In that way, the first factor relates to the problem of substitution—copyright’s bête noire.
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  Goldsmith, 143 S. Ct. at 1274. The use of an original work to achieve a purpose that is the same
  as, or highly similar to, that of the original work is more likely to substitute for, or supplant the
  work. Ibid.
          Commercial use is an important consideration in the first fair use factor, and a profit
  motivation may weigh heavily against fair use. See Harper & Row, 471 U.S. at 562 (explaining
  that even straight reporting may, in some cases, be “commercial” for purposes of this factor); see
  also 4 Nimmer & Nimmer, § 13.05[A][1][c], at 13-167 (noting that “[e]ven if the defendant's
  purpose in copying is news reporting -- one of the characteristically fair purposes set forth in the
  preamble to Section 107 -- its profit motivation may negate the fairness of its use under this
  factor.”)
          Applying those standards here, the first factor cuts strongly against a finding of fair use.
  Defendants clearly sought to use the Star Wars Photographs to monetize the CBM Website. It is

  undisputed that Defendants Cassidy and Wilding were paid for authoring the Infringing Articles.
  See Section I.C; see also Exhibits 19-20. It is also undisputed that the Infringing Articles
  containing the Star Wars Photographs generated revenues for CBM and Best. See Exhibit 36.
          Additionally the use of the Star Wars Photographs was not transformative in any material
  way. To the contrary, The Star Wars Photographs were used solely “for illustrative purposes
  without adding new information, new aesthetics, new insights and new understandings.” Otto v.
  Hearst Communs., Inc., 345 F. Supp. 3d 412, 428 (S.D.N.Y. 2018) (“the use of an image solely to

  illustrate the content of that image, in a commercial capacity, has yet to be found as fair use”); see
  also Fox News Network, LLC v. TVEyes, Inc., 883 F.3d 169, 177 (2nd Cir. 2018) (“[A] use of
  copyrighted material that merely repackages or republishes the original is unlikely to be deemed a
  fair use.” (quotation omitted))
          To nonetheless find that the use of the Star Wars Photographs were fair would “eliminate
  copyright protection any time a copyrighted photograph was used in conjunction with a news story



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  about the subject of that photograph. That is plainly not the law.” Barcroft Media, Ltd. v. Coed
  Media Grp., LLC, 297 F. Supp. 3d 339, 352 (S.D.N.Y. 2017) .
         Thus, the first factor weighs against a finding of fair use.
                 2.      The Nature Of The Copyrighted Work Weighs Against Fair Use.
         The second factor considers “the nature of the copyrighted work.” In so doing, the court
  may consider, among other things, whether the work was creative, imaginative, and original, . . .
  and whether it represented a substantial investment of time and labor made in anticipation of
  financial return. Pro Arts, Inc. v. Hustler Magazine, Inc. 787 F.2d 592 (6th Cir. 1986) (quotation
  omitted).
         The Star Wars Photographs are clearly subject to protectable copyright. See 17 U.S.C. §
  102(a)(5). Leibovitz is one of the most accomplished photographers of all time. It would defy
  reason to suggest that her works, including the Star Wars Photographs were not highly creative in

  nature. Additionally, it is clear that Leibovitz and Trunk Archive expect to reap a financial return
  from licensing such sought after works to various publications. Indeed, “visual works are created,
  and sold or licensed, usually for repetitive viewing.” Ringgold v. Black Entm’t TV, Inc., 126 F.3d
  70, 79 (2nd Cir. 1997).
         Thus, the second factor weighs against a finding of fair use.
                 3.      The Substantiality Of The Portions Used Weighs Against Fair Use.
         The third fair use factor directs courts to examine the amount and substantiality of the

  portion used in relation to the copyrighted work as a whole. See Sheldon v. Metro-Goldwyn
  Pictures Corp., 471 U.S. 539, 565 (1985) (“no plagiarist can excuse the wrong by showing how
  much of his work he did not pirate”). Generally speaking, “the more of a copyrighted work that is
  taken, the less likely the use is to be fair.” Infinity Broad. Corp. v. Kirkwood, 150 F.3d 104, 109
  (2nd Cir. 1998).
         Here, it is undisputed that complete versions of the Star Wars Photographs were
  incorporated into the Infringing Articles on the CBM Website. See Bill Graham Archives v.

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  Dorling Kindersley Ltd., 448 F.3d 605, 613 (2nd Cir. 2006) (“Neither our court nor any of our
  sister circuits has ever ruled that copying of an entire work favors fair use.”).
         Thus, the third factor weighs against a finding of fair use.
                 4.      The Effect On The Market Place Weighs Against Fair Use.
         The final factor — “the effect of the use upon the potential market for or value of the
  copyrighted work” — looks “to not only the market harm caused by the particular infringement,
  but also to whether, if the challenged use becomes widespread, it will adversely affect the potential
  market for the copyrighted work.” Bill Graham Archives, 448 F.3d at 613; see also Harper & Row,
  471 U.S. at 568 (“[T]o negate fair use one need only show that if the challenged use should become
  widespread, it would adversely affect the potential market for the copyrighted work.” (internal
  quotation marks omitted)).
         This factor “is undoubtedly the single most important element of fair use,” because “[f]air

  use, when properly applied, is limited to copying by others which does not materially impair the
  marketability of the work which is copied.” Id. at 566-67; see also S. Rep. No. 94-473 (1975)
  (“[A] use that supplants any part of the normal market for a copyrighted work would ordinarily be
  considered an infringement.”).
         Here, Trunk Archive’s business depends on its ability to convince publications to pay a
  licensing fee to use its photographs. Because the Star Wars Photographs were used for the very
  purpose for which they was originally intended, its use necessarily “usurp[ed]” the function of the

  original works in the market. Cariou v. Prince, 714 F.3d 694, 708 (2nd Cir. 2013). Moreover, if
  this practice of Internet publications using photographs without licensing were to become
  widespread, it is intuitive that the market for such images would diminish correspondingly: If
  entertainment websites could use such images for free, there would be little or no reason to pay for
  a license to Trunk Archive.
         In conclusion, all four of the fair use factors weigh against a finding of fair use. Thus,
  summary judgment should be entered in favor of Trunk Archive.

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         Z.        Invalid Copyrights.
         As a twenty-sixth affirmative defense Defendants Cassidy and Wilding contend that Trunk
  Archive’s claim is barred because the copyrights at issue are invalid.
         As explained in Section III the copyrights to the Star Wars Photographs are valid.
         As such, summary judgment should be entered in favor of Trunk Archive.
         AA.       Speculative Damages.
         As a twenty-seventh affirmative defense Defendants Cassidy and Wilding contend that
  Trunk Archive’s claim is barred because the damages are speculative.
         Entitlement to monetary damages is not an element of a copyright claim. Predator Int'l,
  Inc. v. Gamo Outdoor United States, 2013 U.S. Dist. LEXIS 36866, *19, 2013 WL 1129404 (D.
  Col., Mar. 18, 2013). Because damages is not an element of an infringement claim this affirmative
  defense fails.

         As such, summary judgment should be entered in favor of Trunk Archive.
         BB.       De Minimis Use.
         As a twenty-eighth affirmative defense Defendants Cassidy and Wilding contend that
  Trunk Archive’s claim is barred by the doctrine of de minimis use.
         “To establish that the infringement of a copyright is de minimis, and therefore not
  actionable, the alleged infringer must demonstrate that the copying of the protected material is so
  trivial ‘as to fall below the quantitative threshold of substantial similarity, which is always a
  required element of actionable copying.’” Sandoval v. New Line Cinema Corp., 147 F. 3d 215,

  217 (2nd Cir. 1998) (quoting Ringgold v. Black Entertainment TV, 126 F.3d 70, 74 (2nd Cir.
  1997)). In making this assessment, “courts often look to the amount of the copyrighted work that
  was copied.” Ibid.
         Use of an entire photograph cannot be de minimis. See Iantosca v. Elie Tahari, Ltd., 2020
  U.S. Dist. LEXIS 171512, at *15 n.5; 2020 WL 5603538, at *6 (S.D.N.Y. Sep. 18, 2020); Werner
  v. Evolve Media, LLC, 2020 U.S. Dist. LEXIS 106477 at *21; 2020 WL 3213808, at *8 (C.D.Cal.,



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  2020) (“Defendants displayed Plaintiff’s photographs in their entirety. Clearly, this is not a
  ‘meager’ or ‘fragmentary’ use, and the de minimis use defense fails.”).
         Here, the use of the Star Wars Photographs cannot be de minimis, since the entirety of each
  Photograph was incorporated on the CBM Website via the Infringing Articles. Compare Exhibits
  1-11 with Exhibits 15-35.
         As such, summary judgment should be entered in favor of Trunk Archive.
  VII.   TRUNK ARCHIVE IS ENTITLED TO SEEK STATUTORY DAMAGES
         Trunk Archive is also entitled to summary judgment that it is eligible to pursue statutory
  damages for some of the infringements. Under the Copyright Act, an infringement is eligible for
  statutory damages if the work at issue is registered within three months of first publication or if
  the infringement occurred after registration has been made. 17 U.S.C. § 412(2).
         Here, the Holdo, DJ, Skywalker, Connix, and Dameron Photographs were first published

  in the 2017 Vanity Fair Article on or about May 24, 2017. Exhibit 15. Leibovitz registered the
  Holdo Photograph, Skywalker Photograph, Connix Photograph, and Dameron Photograph as part
  of a group registration of photographs under registration certificate VA 2-111-252 with an
  effective registration date of July 10, 2017, which is less than three months from first publication.
  Exhibit 12. Because these images are timely registered, Trunk Archive is entitled summary
  judgment that is eligible to recover statutory damages for the infringements of the Holdo
  Photograph, Skywalker Photograph, Connix Photograph, and Dameron Photograph as follows:

         -   One award of statutory damages against CBM, Best, and Cassidy for infringement of
             the Holdo Photograph in the article titled “STAR WARS: THE LAST JEDI Actress
             Laura Dern Shares New Image Of Vice Admiral Amilyn Holdo” dated October 18,
             2017. Exhibit 21; Exhibit 40, RFA Nos. 2-3, 7.
         -   One award of statutory damages against CBM, Best, and Cassidy for infringement of
             the DJ Photograph in the article titled “STAR WARS: THE LAST JEDI International
             TV Spot Features Benicio Del Toro As The Mysterious DJ” dated November 20, 2017.
             Exhibit 22; Exhibit 40, RFA Nos. 8-9, 13.
         -   One award of statutory damages against CBM, Best, and Cassidy for infringement of
             the Skywalker Photograph in the article titled “STAR WARS: THE LAST JED’s Mark
             Hamill Shares A Lovely Tribute To Carrie Fisher One Year After Her Passing” dated
             December 27, 2017. Exhibit 23; Exhibit 40, RFA Nos. 14-15, 19.
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          -   One award of statutory damages against CBM, Best, and Cassidy for infringement of
              the Connix Photograph in the article titled “Billie Lourd Shares A Touching Tribute To
              Carrie Fisher On The Second Anniversary Of Her Passing” dated December 27, 2018.
              Exhibit 24; Exhibit 40, RFA Nos. 20-21, 25.

          -   One award of statutory damages against CBM, Best, and Wilding for infringement of
              the Dameron Photograph in the article titled “STAR WARS: THE RISE OF
              SKYWALKER’s Oscar Issacs Blames ‘Disney Overlords’ For No Poe/Finn Romance”
              dated December 26, 2019. Exhibit 32; Exhibit 41, RFA Nos. 42-43, 48.

          Leibovitz also registered the Millennium Falcon Photograph, R2-D2 Photograph, Finn
  Photograph, Hux Photograph, Production Photographs, and Lightsaber Photograph as part of a
  group registration of photographs under registration certificate VA 2-192-380 with an effective
  registration date of January 16, 2020. Exhibit 13. However, such registration was done more than
  three months after first publication. See Exhibit 16. As such, Trunk Archive is only entitled to seek
  statutory damages related to uses of those photographs occurring after January 16, 2020 (see 17

  U.S.C. § 412(2)) as follows:

          -   One award of statutory damages against CBM, Best, and Cassidy for infringement of
              the Lightsaber Photograph in the article titled “STAR WARS: THE RISE OF
              SKYWALKER Passes $500 Million At The Domestic Box Office” dated January 26,
              2020. Exhibit 35; Exhibit 40, RFA Nos. 50-51, 55.

  VIII.   CONCLUSION
          In conclusion, Plaintiff Great Bowery Inc. d/b/a Trunk Archive respectfully requests that
  the Court enter summary judgment in its favor.
  Dated: November 3, 2023                               Respectfully submitted,

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